       Case 2:18-cv-00529-EEF-MBN Document 5 Filed 09/14/18 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN)              :
PRODUCTS LIABILITY LITIGATION             :                  MDL No. 2592
                                          :
                                          :                  SECTION L
                                          :
SANDRA FULTON                             :
                                          :
       Plaintiff                          :                  JUDGE ELDON E. FALLON
                                          :
v.                                        :                  MAGISTRATE JUDGE NORTH
                                          :
JANSSEN RESEARCH & DEVELOPMENT            :
LLC f/k/a JOHNSON & JOHNSON               :
PHARMACEUTICAL RESEARCH AND               :
DEVELOPMENT LLC, JANSSEN ORTHO            :                  Civil Action No.: 2:18-CV-00529
LLC, JANSSEN PHARMACEUTICALS, INC. :
f/k/a JANSSEN PHARMACEUTICA INC.          :
f/k/a ORTHO-MCNEIL-JANSSEN                :                  STIPULATION OF DISMISSAL
PHARMACEUTICALS, INC.,                    :                       WITH PREJUDICE
JOHNSON & JOHNSON COMPANY,                :
BAYER HEALTHCARE                          :
PHARMACEUTICALS INC.,                     :
BAYER PHARMA AG,                          :
BAYER CORPORATION,                        :
BAYER HEALTHCARE LLC,                     :
BAYER HEALTHCARE AG, and BAYER AG, :
                                          :
       Defendants                         :
_________________________________________ :

       IT IS HEREBY STIPULATED AND AGREED, that Plaintiff, Sandra Fulton, hereby

dismisses all claims in this matter with prejudice against all Defendants in this action, Civil Action

No. 2:18-cv-00529 only. This stipulation shall not affect the lawsuit filed by Stephen Fulton, as

surviving husband and representative of the estate of Sandra Fulton, which is currently pending in

MDL No. 2592 in the United States District Court for the Eastern District of Louisiana, bearing

Case No. 2:17-cv-12620. All parties shall bear their own costs.




                                             1
      Case 2:18-cv-00529-EEF-MBN Document 5 Filed 09/14/18 Page 2 of 3



SLATER SLATER                     DRINKER BIDDLE & REATH LLP
SCHULMAN LLP                      By: /s/Susan M. Sharko
By: /s/ Jonathan E. Schulman      Susan M. Sharko
Jonathan Schulman                 600 Campus Dr.
Adam P. Slater                    Florham Park, NJ 07932
445 Broadhollow Road, Suite 334   Tel: (973) 549-7000
Melville, NY 11747                Susan.Sharko@dbr.com
Telephone: (631) 420-9300
Facsimile: (212) 922-0907         Attorneys for Defendants Janssen Pharmaceuticals, Inc.,
jschulman@sssfirm.com             Janssen Research & Development, LLC, Janssen Ortho
aslater@sssfirm.com               LLC, and Johnson & Johnson
                                  Dated: September 14, 2018
Attorneys for Plaintiff
Dated: September 14, 2018         ARNOLD & PORTER KAYE
                                  SCHOLER LLP

                                  By: /s/Andrew Solow
                                  Andrew K. Solow
                                  250 West 55th Street
                                  New York, New York 10019-9710
                                  Telephone: (212) 836-8000
                                  Facsimile: (212) 836-8689
                                  William Hoffman
                                  601 Massachusetts Ave., NW
                                  Washington, D.C. 20001
                                  Telephone: (202) 942-5000
                                  Facsimile: (202) 942-5999
                                  andrew.solow@apks.com
                                  william.hoffman@apks.com

                                  Attorneys for Defendants Bayer HealthCare
                                  Pharmaceuticals Inc., and Bayer Pharma AG
                                  Dated: September 14, 2018

                                  CHAFFE McCALL L.L.P.
                                  By: /s/ John F. Olinde
                                  John F. Olinde (LA Bar #1515)
                                  1100 Poydras Street
                                  Suite 2300
                                  New Orleans, LA 70163
                                  Telephone: (504) 585-7241
                                  Facsimile: (504) 544-6084
                                  olinde@chaffe.com

                                  Attorneys for Defendants Bayer HealthCare
                                  Pharmaceuticals Inc. and Bayer Pharma AG
                                  Dated: September 14, 2018

                                       2
       Case 2:18-cv-00529-EEF-MBN Document 5 Filed 09/14/18 Page 3 of 3




                                      IRWIN FRITCHIE URQUHART & MOORE LLC
                                      By: /s/James B. Irwin
                                      James B. Irwin
                                      Kim E. Moore
                                      400 Poydras St., Ste, 2700
                                      New Orleans, LA 70130
                                      (504) 310-2100
                                      jirwin@irwinllc.com
                                      kmoore@irwinllc.com

                                      Liaison Counsel for Defendants
                                      Dated: September 14, 2018


                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on September 14, 2018, the foregoing pleading was
filed electronically with the Clerk of the Court using the CM/ECF system. Notice of this filing
will be sent to Liaison Counsel for Plaintiffs and Defendants by operation of the Court’s
electronic filing system and served on all other plaintiff counsel via MDL Centrality, which will
send notice of electronic filing in accordance with the procedures established in MDL 2592
pursuant to Pre-Trial Order No. 17.

                                             /s/ John F. Olinde




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